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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

 CINDA LEE LOVATO and MARK                               §
 MARTINEZ,                                               §
                                                         §
         Plaintiffs,                                     §
                                                         §
 v.                                                      §      2:20-CV-70-BR
                                                         §
 AMY HITCHCOCK et al.,                                   §
                                                         §
         Defendants.                                     §

      ORDER DENYING DEFENDANTS HITCHCOCK, VANOVER, RICE, HOWARD,
       AND SHOOK’S MOTION TO DISMISS, GRANTING DEFENDANTS THOMAS
        AND DAWSON’S MOTION TO DISMISS, AND GRANTING IN PART AND
      DENYING IN PART DEFENDANT POTTER COUNTY’S MOTION TO DISMISS

         Before the Court is Defendants Amy Hitchcock (“Hitchcock”), Tanner Vanover

(“Vanover”), Jared Rice (“Rice”), Brett Howard (“Howard”), and Sara Shook’s (“Shook”) Motion

to Dismiss (ECF 8), Defendants Brian Thomas (“Thomas”) and Lisa Dawson’s (“Dawson”)

Motion to Dismiss (ECF 7), and Defendant Potter County’s Motion to Dismiss (ECF 6). Plaintiffs

Cinda Lovato and Mark Martinez filed a consolidated response. (ECF 22). Defendants filed a

consolidated reply.1 (ECF 25).



         1  Individual defendants may raise the defense of qualified immunity in a motion to dismiss. Harlow v.
Fitzgerald, 457 U.S. 800, 818 n.30 (1982) (qualified immunity applies to state officials sued for constitutional
violations under section 1983); see Blakely v. Andrade, 360 F. Supp. 3d 453, 477–78 (N.D. Tex. 2019) (court
considered qualified immunity at motion to dismiss stage where initial motion raised defense, plaintiff filed amended
complaint addressing defense, and subsequent motion aimed at amended complaint reasserted defense); Brown v. City
of Houston, 297 F. Supp. 3d 748, 772 (S.D. Tex. 2017) (qualified immunity defense may be raised in a motion to
dismiss). Here, Thomas, Dawson, Hitchcock, Vanover, Rice, Howard, and Shook (collectively “individual
Defendants”) did not raise the defense in their motions to dismiss, but subsequently raised it in their answer filed
September 18, 2020. (ECF 29). Because the individual Defendants did not raise, argue, or brief qualified immunity in
their motions to dismiss, the Court does not address qualified immunity in its analysis. Further, based not only on the
fact that the individual Defendants did not raise qualified immunity in their motions to dismiss, but also on the
September 18, 2020 Notice of Assertion of Qualified Immunity, it appears the individual Defendants do not dispute
Plaintiffs’ Original Complaint (the “Complaint”) (ECF 1) states facts which, if true, could possibly overcome the
defense of qualified immunity, such that discovery related to qualified immunity may proceed. (See ECF 30)
(requesting Court issue order limiting discovery to facts necessary to resolve qualified immunity issues); see Zapata
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                         I.     FACTUAL AND PROCEDURAL BACKGROUND2

         Plaintiffs individually, and Cinda Lovato on behalf of all wrongful death beneficiaries and

the estate of Daniel Martinez (“Martinez”), bring this lawsuit against Defendants asserting claims

arising from Martinez’s suicide while he was a pretrial detainee at the Potter County Jail.3 (See

ECF 1 at 4–5).

         Martinez suffered from depression, a mental condition that substantially limited his brain

function. (Id. at 5). After arriving at the jail as a pretrial detainee, Martinez made it clear to multiple

jail employees that he was at risk of suicide. (Id.). Shook, a mental health officer at the jail, and

Howard, an officer at the jail, conducted a suicide risk assessment on Martinez, during which

Martinez cried. (Id.). Martinez told Shook and Howard that he “regularly feels like hurting

himself,” “thinks of killing himself all the time,” and was having suicidal thoughts. (Id.). Martinez

asked Shook and Howard for “mental health treatment” “so he [would] not feel this way anymore.”

(Id.). Shook and Howard asked Martinez if he had a plan to commit suicide, to which Martinez

replied “it’s not hard to think of a way that [I] would do it.” (Id.). Shook and Howard refused

Martinez’s request for mental health treatment and placed Martinez in a solitary-confinement cell

with multiple tie-off points and a partition enclosing the toilet area to which a ligature could be

secured. (Id. at 5–6). The cell had a solid metal door and a small window, which required an officer

to stop outside and peer through the window to observe Martinez. (Id. at 6). All Defendants knew

the cell’s configuration made it difficult for an officer to observe a detainee inside the cell. (Id.).




v. Melson, 750 F.3d 481, 484–85 (5th Cir. 2014) (before even limited discovery on the issue of qualified immunity
may proceed, the court must first find the plaintiff’s pleadings assert facts which, if true, would overcome the defense
of qualified immunity).
         2   The Court takes its factual account from the Complaint. (ECF 1).
         3   Plaintiffs are decedent Martinez’s parents.


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        Shook and Howard took no other suicide precautions, such as confiscating Martinez’s

bedding or uniform or starting a suicide watch. (Id. at 6–7). Shook and Howard knew that inmates

are at higher risk of suicide when they are housed by themselves, away from any other people who

can either call for help or stop a suicide in progress. (Id. at 6). After placing Martinez in a solitary-

confinement cell with his uniform and blanket, Howard told Shook that he believed Martinez

“needed assistance.” (Id. at 7). However, Shook and Howard did not attempt to get Martinez

medical or psychiatric attention. (Id.). Plaintiffs allege Shook and Howard did not inform Rice,

Hitchcock, or Vanover, the officers responsible for supervising Martinez’s cell block, that

Martinez was a suicide risk and required additional constant monitoring. (Id. at 8). In the

alternative, Plaintiffs allege Shook and Howard informed Rice, Hitchcock, and Vanover that

Martinez was a suicide risk and requested mental health treatment, but Rice, Hitchcock, and

Vanover did nothing, and Hitchcock and Vanover failed to observe Martinez’s cell at intervals

frequent enough to guard against suicide, as they knew Martinez required. (Id. at 8, 13).

        Rice failed to continuously observe Martinez’s cell by video surveillance as the officer in

the control room, partially due to inadequate training and staffing. (Id. at 8). All Defendants knew

inadequate training and staffing were recurring problems. (Id.). In the alternative, Plaintiffs allege

Rice watched Martinez prepare to commit suicide and did nothing. (Id. at 9). The surveillance

video Rice was supposed to be watching, or in the alternative, was actually watching, shows

Martinez prepare a ligature, repeatedly test that the slip-knot would tighten, and take the noose on

and off his neck multiple times before finally securing it to the toilet-area partition and lowering

himself to the floor, all over a period of 30 minutes. (Id.). As he took steps to end his life, Martinez

repeatedly looked up at the camera and stood next to the small window while wearing the ligature

around his neck, but nobody observed him during that time. (Id.). Had anyone looked at the video




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and personally observed Martinez during that time, they would have seen the suicide in progress.

(Id.). Hitchcock discovered Martinez hanging in his cell as she was performing a routine patrol of

the cell block. (Id.).

        Plaintiffs allege Shook, Howard, Rice, Hitchcock, and Vanover received inadequate

training in suicide prevention. (Id. at 10). These allegations are discussed in more detail below. In

the alternative, Plaintiffs allege Shook, Howard, Rice, Hitchcock, and Vanover received training,

but ignored it and displayed deliberate indifference to Martinez’s disability and medical needs.

(Id.). Plaintiffs further allege that Thomas, the Sheriff, and Dawson, the Potter County Jail

Administrator, failed to supervise Shook, Howard, Rice, Hitchcock, and Vanover, and knew that

officers under their supervision regularly placed detainees at risk of suicide in dangerous cells,

failed to start suicide watches, failed to request mental health treatment, and used video

surveillance to observe inmates in solitary confinement cells instead of in-person observation. (Id.

at 4, 10).

        Plaintiffs allege the following prior suicides occurred at Potter County Jail:

    1. 1993—Louis Passenau died of suicide by hanging. He used his bed sheet as a
       ligature.;

    2. 1997—Timothy Harris died of suicide by hanging in his cell.;

    3. 1998—Randy Bailey died of suicide by hanging in his cell.;

    4. 2001—Raymond Bingle died of suicide by hanging in a single-person cell. He used
       his bed sheet as a ligature.; and

    5. 2008—Marcos Portillo died of suicide by hanging in a single-person cell. He used
       his bed sheet as a ligature.

(Id. at 11–12). Dawson knew of each of these suicides. (Id. at 12). Thomas knew of “many” of the

suicides. (Id.). Plaintiffs allege when Martinez entered the jail, the jail was overcrowded and

understaffed, and Thomas and Dawson later discussed overcrowding with local news media and



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reporters. (Id. at 4). Dawson told the media overcrowding “is spreading [the jail’s] resources thin

across the board [including] medical expenses.” (Id.). Thomas also knew the jail had too many

prisoners for the available space. (Id.). Neither Thomas nor Dawson hired additional staff. (Id.).

        Plaintiffs bring the following claims in the Complaint: (1) Fourteenth Amendment claims

under 42 U.S.C. § 1983 against the individual Defendants in their individual capacities; and (2)

Fourteenth Amendment claims under 42 U.S.C. § 1983 and claims under the Americans with

Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”) against Potter County. The three

motions to dismiss seek dismissal of Plaintiffs’ claims under Federal Rule of Civil Procedure

12(b)(6).

                                     II.    LEGAL STANDARD


    A. Rule 12(b)(6)

        Rule 12(b)(6) provides that a defendant may file a motion to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” In deciding a Rule

12(b)(6) motion to dismiss, the Court “accepts ‘all well-pleaded facts as true, viewing them in the

light most favorable to the plaintiff.’” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th

Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464, 467

(5th Cir. 2004)). “However, ‘conclusory allegations or legal conclusions masquerading as

factual conclusions will not suffice to prevent a motion to dismiss.’” Ruiz v. Brennan, 851 F.3d

464 n.5 (5th Cir. 2017) (quoting Jones v. Alcoa, Inc., 339 F.3d 359, 362 (5th Cir. 2003)).

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “The plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that



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a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 555–56, “Factual allegations

must be enough to raise a right to relief above the speculative level . . .”). “[W]here the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679

(quoting Fed. R. Civ. P. 8(a)(2)). “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at 678. Additionally, under Federal

Rule of Civil Procedure 8(a)(2), a pleading must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule 8(a)(2)’s pleading

standard does not require detailed factual allegations, but it demands more than labels and

conclusions. See Iqbal, 556 U.S. at 678. A formulaic recitation of the elements of a cause of action

is insufficient. Id.

                                        III.    ANALYSIS

    A. Plaintiffs’ Fourteenth Amendment Claims Under Section 1983 Against the Individual
       Defendants

        Plaintiffs bring claims against the individual Defendants asserting Martinez received

inadequate medical care and was subjected to conditions that constituted punishment in violation

of Martinez’s Fourteenth Amendment rights. (ECF 1 at 12–14).

        The suicide of a pretrial detainee implicates the state’s duty to provide medical care and its

duty to provide protection from harm, and failing to provide pretrial detainees with medical care

and adequate protection from their known suicidal impulses is a violation of the Fourteenth

Amendment. Shepard v. Hansford Cty., 110 F. Supp. 3d 696, 708 (N.D. Tex. 2015).

“Constitutional challenges by pretrial detainees may be brought under two alternative theories: as

an attack on a ‘condition of confinement’ or as an ‘episodic act or omission.’” Shepherd v. Dallas

Cty., 591 F.3d 445, 452 (5th Cir. 2009) (citing Hare v. City of Corinth, 74 F.3d 633, 644–45 (5th



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Cir. 1996)). A conditions-of-confinement claim is a constitutional attack on “general conditions,

practices, rules, or restrictions of pretrial confinement.” Hare, 74 F.3d at 644. When a plaintiff

challenges a condition of confinement, courts apply the test established by the Supreme Court in

Bell v. Wolfish. Estate of Henson v. Wichita Cty., 795 F.3d 456, 463 (5th Cir. 2015) (citing Bell v.

Wolfish, 441 U.S. 520, 539 (1979)). To succeed on a conditions-of-confinement claim based on

inadequate medical care, a plaintiff must show that the level of medical care provided to the

detainee was not reasonably related to a legitimate governmental objective and therefore

constituted punishment in violation of the Fourteenth Amendment. See Shepherd, 591 F.3d at 455.

If a plaintiff properly states a conditions-of-confinement claim, the plaintiff is relieved from the

burden of demonstrating a municipal entity’s or individual jail official’s actual intent to punish

because intent may be inferred from the decision to expose a detainee to an unconstitutional

condition. Shepard, 591 F.3d at 452. “A condition is usually the manifestation of an explicit policy

or restriction: the number of bunks per cell, mail privileges, disciplinary segregation, etc.” Id.

(citing Scott v. Moore, 114 F.3d 51, 53 n.2 (5th Cir. 1997)). However, in some cases, a condition

may reflect an unstated or de facto policy, as evidenced by a pattern of acts or omissions

“sufficiently extended or pervasive, or otherwise typical of extended or pervasive misconduct by

other officials, to prove an intended condition or practice.” Hare, 74 F.3d at 645. “Proving a pattern

is a heavy burden, one that has rarely been met in our caselaw.” Shepard, 591 F.3d at 452.

       If the alleged harm is a particular act or omission by one or more officials, the action is

properly characterized as an episodic-act-or-omission case. See id. In an episodic-act-or-omission

case, “an actor usually is interposed between the detainee and the municipality, such that the

detainee complains first of a particular act of, or omission by, the actor and then points derivatively

to a policy, custom, or rule (or lack thereof) of the municipality that permitted or caused the act or




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omission.” Scott, 114 F.3d at 53. To state an episodic-act-or-omission claim, a pretrial detainee

must show that an official acted with subjective deliberate indifference to the detainee’s serious

medical needs. See Shepard, 591 F.3d at 452 (citing Hare, 74 F.3d at 648). To prove deliberate

indifference, a plaintiff must show that the official was “aware of facts from which the inference

could be drawn that a substantial risk of serious harm exists,” and that the official actually “dr[e]w

the inference.” Hyatt v. Thomas, 843 F.3d 172, 177 (5th Cir. 2016) (quoting Farmer v. Brennan,

511 U.S. 825, 837 (1994)). Additionally, the official must have “disregard[ed] that risk by failing

to take reasonable measures to abate it.”4 Arenas v. Calhoun, 922 F.3d 616, 620 (5th Cir. 2019)

(internal quotation omitted). Mere negligence is insufficient. Hare, 74 F.3d at 649–50. A plaintiff

must show that officials refused to provide medical treatment, ignored the detainee’s complaints,

intentionally treated the detainee incorrectly, or engaged in similar conduct that would clearly

evince a wanton disregard for any serious medical needs. Domino v. Texas Dep’t of Criminal

Justice, 239 F.3d 752, 756 (5th Cir. 2001).

         Plaintiffs allege Fourteenth Amendment violations under both a conditions-of-confinement

theory and an episodic-act-or-omission theory, but it is somewhat unclear if Plaintiffs intended to

bring both claims against all individual Defendants because Plaintiffs do not differentiate between

the two types of claims. (See ECF 1 at 12–14). Defendants Shook, Howard, Rice, Hitchcock, and

Vanover move to dismiss the claims against them on the grounds that the claims allege negligence

and gross negligence and are not actionable, and Plaintiffs have not pleaded true conditions-of-

confinement claims. (ECF 8 at 8–11). The Court will first determine what claims Plaintiffs bring




         4 Some cases require that the plaintiff demonstrate the “official subjectively intended that harm occur.” See

Thompson v. Upshur Cty., 245 F.3d 447, 459 (5th Cir. 2001); see also Sanchez v. Young Cty., 866 F.3d 274, 280 (5th
Cir. 2017). However, the Fifth Circuit Court of Appeals recently clarified that the subjective intent element “is contrary
to the weight of our case law and to the Supreme Court precedent from which our cases flow.” Garza v. City of Donna,
922 F.3d 626, 634–35 (5th Cir. 2019). Thus, the Court does not consider this requirement.


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against the individual Defendants. See Hare, 74 F.3d at 644–45. After determining the nature of

the claims, the Court will apply the appropriate standard to determine whether Plaintiffs

sufficiently pleaded their claims.

                    i. Shook and Howard

        Plaintiffs allege Shook and Howard conducted a suicide risk assessment on Martinez,

during which Martinez cried, stated he had suicidal thoughts, asked for mental health treatment,

and stated it would not be difficult to think of a way to kill himself. (ECF 1 at 5). Plaintiffs further

allege that after the suicide risk assessment, Howard told Shook he believed Martinez needed

assistance. (Id. at 7). Despite what they learned during the suicide risk assessment and Howard’s

belief that Martinez needed assistance, Plaintiffs claim Shook and Howard disregarded Martinez’s

known risk of suicide by:

        1. Placing him in a single-person cell with multiple tie-off points;

        2. Giving him the means to carry out his suicide by not confiscating his bedding;

        3. Not instituting a suicide watch;

        4. Denying medical or mental health treatment for Martinez when he asked for it
           and told them he intended to commit suicide;

        5. Failing to ensure Martinez received constant observation due to his high risk
           of suicide; and

        6. Alternatively, not informing the other Defendants about Martinez’s suicidal
           tendencies.

(Id. at 13).

         The Court finds Plaintiffs’ claims against Shook and Howard are consistent with episodic-

act-or-omission claims because Plaintiffs allege that Shook and Howard failed to take certain steps

to protect Martinez from his suicidal tendencies. See Campos v. Webb Cty., 597 F. App’x 787,

791–93 (5th Cir. 2015) (contrasting the Fifth Circuit Court of Appeals’ Shepherd opinion, the rare



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legitimate conditions-of-confinement case, with episodic-act-or-omission cases where plaintiffs

complain of specific jail officials’ acts or omissions); see also Shepard, 110 F. Supp. 3d at 714–

15.

         To sufficiently plead deliberate indifference, Plaintiffs must allege Shook and Howard (1)

were aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists; (2) actually drew the inference; and (3) disregarded that risk by failing to take reasonable

measures to abate it. See Converse v. City of Kemah, 961 F.3d 771, 775–76 (5th Cir. 2020).

Viewing the facts in the light most favorable to Plaintiffs, Plaintiffs have sufficiently pleaded

Shook and Howard were aware of facts from which the inference could be drawn that a substantial

risk of serious harm existed, they actually drew that inference, and they deliberately disregarded

the risk by refusing to provide medical treatment and ignoring Martinez’s complaints. See id. at

776–80; see also Arenas, 922 F.3d at 620–21. The Court denies Shook and Howard’s motion to

dismiss.5

                       ii. Rice

         Plaintiffs claim Rice disregarded Martinez’s known risk of suicide by “failing to observe

the video monitor which showed Martinez dying of suicide, or, in the alternative, watched

Martinez prepare to commit suicide for over thirty minutes, then actually begin asphyxiating

himself, while Rice did nothing.” (ECF 1 at 13). Specifically, Plaintiffs assert that the surveillance



         5 The Court will not address Shook and Howard’s request that the Court strike allegations based on negligence

and gross negligence from the Complaint. (See ECF 8 at 6, 8–9). The conclusory request does not sufficiently identify
the allegations to be stricken and includes only a non-exhaustive list of examples of allegations to be stricken. (See id.
at 8–9). Further, Shook and Howard do not explain why any of the allegations actually listed should be stricken under
Federal Rule of Civil Procedure 12(f) and the applicable caselaw. See Augustus v. Bd. of Pub. Instruction of Escambia
Cty., 306 F.2d 862, 868 (5th Cir. 1962) (motion to strike should be granted when the allegations to be stricken have
no possible relation to the controversy); see Pan Am. Life Ins. Co. v. Blanco, 311 F.2d 424, 428 n.13 (5th Cir. 1962)
(“Matter will not be stricken from a pleading unless it is clear that it can have no possible bearing upon the subject
matter of the litigation. If there is any doubt as to whether under any contingency the matter may raise an issue, the
motion should be denied.”) (internal quotation omitted).


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video Rice was supposed to be watching, or in the alternative, was actually watching, shows

Martinez prepare a ligature, repeatedly test that the slip-knot would tighten, and take the noose on

and off his neck multiple times before finally securing it to the toilet-area partition and lowering

himself to the floor over a period of 30 minutes.6 (Id. at 9).

        The Court finds Plaintiffs’ claims against Rice are consistent with episodic-act-or-omission

claims because Plaintiffs allege Rice failed to take certain steps to protect Martinez from his

suicidal tendencies. See Campos, 597 F. App’x at 791–93; see also Shepard, 110 F. Supp. 3d at

714–15. To sufficiently plead deliberate indifference, Plaintiffs must allege Rice (1) was aware of

facts from which the inference could be drawn that a substantial risk of serious harm exists; (2)

actually drew the inference; and (3) disregarded that risk by failing to take reasonable measures to

abate it. See Converse, 961 F.3d at 775–76. Viewing the facts in the light most favorable to

Plaintiffs, Plaintiffs have sufficiently pleaded Rice was aware of facts from which the inference

could be drawn that a substantial risk of serious harm existed, he actually drew that inference, and

he deliberately disregarded the risk by ignoring Martinez’s suicidal behavior and doing nothing to

help Martinez. See id. at 776–80; see also Arenas, 922 F.3d at 620–21. The Court denies Rice’s

motion to dismiss.7

                     iii. Hitchcock and Vanover

        Plaintiffs allege Hitchcock and Vanover did not know Martinez was a suicide risk, and in

the alternative, Shook and Howard informed Hitchcock and Vanover that Martinez was a suicide




        6 The Court notes that Plaintiffs are permitted to plead inconsistent statements and claims. Leal v. McHugh,

731 F.3d 405, 414 (5th Cir. 2013).
        7 The Court will not address Rice’s request that the Court strike allegations based on negligence and gross
negligence from the Complaint for the reasons previously stated. (See ECF 8 at 6, 8–9); see supra note 5.


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risk and requested mental health treatment, but Hitchcock and Vanover did nothing and failed to

observe Martinez’s cell at intervals frequent enough to guard against suicide. (ECF 1 at 8, 13).

       The Court finds Plaintiffs’ claims against Hitchcock and Vanover are consistent with

episodic-act-or-omission claims because Plaintiffs allege Hitchcock and Vanover failed to take

certain steps to protect Martinez from his suicidal tendencies. See Campos, 597 F. App’x at 791–

93; see also Shepard, 110 F. Supp. 3d at 714–15. To sufficiently plead deliberate indifference,

Plaintiffs must allege Hitchcock and Vanover (1) were aware of facts from which the inference

could be drawn that a substantial risk of serious harm exists; (2) actually drew the inference; and

(3) disregarded that risk by failing to take reasonable measures to abate it. See Converse, 961 F.3d

at 775–76.

       Plaintiffs pleaded Shook and Howard told Hitchcock and Vanover that Martinez was a

suicide risk and requested mental health treatment. Thus, viewing the facts in the light most

favorable to Plaintiffs, Plaintiffs have sufficiently pleaded Hitchcock and Vanover had subjective

knowledge that Martinez was at a substantial risk of committing suicide. See id. at 776. Whether

Plaintiffs sufficiently pleaded Hitchcock and Vanover deliberately disregarded this risk is a closer

call. Plaintiffs did not plead Hitchcock and Vanover knew Martinez’s bedding and uniform had

not been confiscated, knew that Martinez’s cell had tie-off points, or like Rice, observed suicidal

behavior while Martinez was in his cell. However, Plaintiffs did plead Hitchcock and Vanover did

nothing to prevent Martinez’s suicide and “fail[ed] to observe [Martinez’s] cell at intervals

frequently enough to guard against a suicide death, as they knew Martinez required.” (ECF 1 at

13). Viewing the facts in the light most favorable to Plaintiffs, Plaintiffs have sufficiently pleaded

that, by failing to take simple and reasonable precautions to observe Martinez appropriately,

Hitchcock and Vanover displayed deliberate indifference to a substantial risk of serious harm to




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Martinez. See Converse, 961 F.3d at 778–79 (citing Jacobs v. W. Feliciana Sheriff’s Dep’t, 228

F.3d 388, 395–98 (5th Cir. 2000)); see also Shepard, 110 F. Supp. 3d at 711 (officer’s failure to

perform face-to-face observations of detainee placed on suicide watch every fifteen minutes was

deliberately indifferent to detainee’s right to protection from risk of suicide); see also Nagle v.

Gusman, 61 F. Supp. 3d 609, 628–30 (E.D. La. 2014) (defendant acted with deliberate indifference

by leaving suicidal pretrial detainee unobserved on at least three different occasions without taking

any measures to protect detainee from harm). The Court denies Hitchcock and Vanover’s motion

to dismiss.8, 9

                     iv. Thomas and Dawson

        Plaintiffs claim Thomas and Dawson “failed to supervise each of the other individual

Defendants.” (ECF 1 at 13). Plaintiffs allege:

        Thomas and Dawson knew that officers under their supervision regularly placed
        detainees at risk of suicide in dangerous cells, failed to start suicide watches, failed
        to confiscate bedding and uniforms, and only used video surveillance to observe
        inmates housed in the solitary confinement cells. Thomas and Dawson knew that
        each of these failures placed suicidal detainees at substantial risk of serious harm,
        but did nothing to prevent [their] subordinates from regularly confining detainees
        under these dangerous conditions.

(Id.). Plaintiffs further claim:

        Thomas and Dawson knew that the jail was overcrowded and understaffed, but did
        nothing to correct these obvious problems. Thomas and Dawson knew that
        understaffing would result in obvious problems like detainees being observed less
        frequently. Thomas and Dawson also knew, and told the press, that overcrowding
        would result in fewer detainees receiving timely medical or psychiatric treatment.
        Despite the obvious and recurring risks these conditions posed, and that they were
        personally aware of, Thomas and Dawson did nothing to correct them.


        8 The Court will not address Hitchcock and Vanover’s request that the Court strike allegations based on
negligence and gross negligence from the Complaint for the reasons previously stated. (See ECF 8 at 6, 8–9); see
supra note 5.
        9 To the extent Plaintiffs intended to bring conditions-of-confinement claims against Shook, Howard, Rice,
Hitchcock, and Vanover, the Court grants Shook, Howard, Rice, Hitchcock, and Vanover’s motion to dismiss as to
any such conditions-of-confinement claims.


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(Id.).

         Defendants Thomas and Dawson move to dismiss the claims against them on the grounds

that Plaintiffs have not pleaded the facts necessary to state a claim for failure to train or supervise,

the claims allege negligence and gross negligence and are not actionable, and Plaintiffs have not

pleaded true conditions-of-confinement claims. (See ECF 7 at 10–18).

         First, the Court finds Plaintiffs fail to state a conditions-of-confinement claim against

Thomas and Dawson. As stated above, to prevail on a conditions-of-confinement claim, a plaintiff

must show “(1) ‘a rule or restriction or ... the existence of an identifiable intended condition or

practice ... [or] that the jail official’s acts or omissions were sufficiently extended or pervasive’;

(2) which was not reasonably related to a legitimate governmental objective; and (3) which caused

the violation of [the pretrial detainee’s] constitutional rights.” Duvall v. Dallas Cty., 631 F.3d 203,

207 (5th Cir. 2011) (quoting Hare, 74 F.3d at 645). With respect to the first requirement, Plaintiffs

have not identified an explicit policy. Thus, Plaintiffs must point to a de facto policy. See Estate

of Henson, 795 F.3d at 465 (stating that in the absence of an explicit policy, a plaintiff must show

a de facto policy existed). To state a conditions-of-confinement claim based on Thomas and

Dawson’s implementation of an unstated rule or de facto policy, Plaintiffs must plead Thomas and

Dawson’s “acts or omissions were sufficiently extended or pervasive, or otherwise typical of

extended or pervasive misconduct by other officials, to prove an intended condition or practice.”

Id. (quoting Hare, 74 F.3d at 645).

         Plaintiffs pleaded Thomas and Dawson knew of the history of suicides at Potter County

Jail and “how Potter County employees failed to prevent them,” “but did nothing differently” and

failed to “remedy this disturbing pattern.” (ECF 1 at 12). Plaintiffs also pleaded Thomas and

Dawson failed to prevent officers under their supervision from regularly placing detainees at risk



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of suicide in dangerous cells, failing to start suicide watches, failing to confiscate bedding and

uniforms, and only using video surveillance to observe inmates housed in the solitary confinement

cells. (Id. at 13). However, Plaintiffs pleaded no specific facts showing Thomas and Dawson’s

alleged failures were sufficiently extended or pervasive, or otherwise typical of extended or

pervasive misconduct by other officials, to constitute an intended condition or practice. These

conclusory allegations do not support a claim that Thomas and Dawson’s acts or omissions

constitute an unstated rule or de facto policy. With respect to Plaintiffs’ claims that Thomas and

Dawson knew that the jail was overcrowded and understaffed and did nothing to correct the

problems, Plaintiffs pleaded no specific facts showing overcrowding or understaffing played a role

in Martinez’s death. Plaintiffs pleaded Rice failed to monitor surveillance video of Martinez in his

cell partially due to inadequate staffing, but this allegation is conclusory and fails to explain how

understaffing prevented Rice from acting. As stated above, Plaintiffs fail to state a conditions-of-

confinement claim against Thomas and Dawson.

       Second, the Court finds that rather than episodic-act-or-omission claims, Plaintiffs seem to

bring “failure to supervise” claims against Thomas and Dawson. “A supervisor may also be liable

for failure to supervise or train if: ‘(1) the supervisor either failed to supervise or train the

subordinate official; (2) a causal link exists between the failure to train or supervise and the

violation of the plaintiff’s rights; and (3) the failure to train or supervise amounts to deliberate

indifference.’” Porter v. Epps, 659 F.3d 440, 446 (5th Cir. 2011) (quoting Goodman v. Harris

Cty., 571 F.3d 388, 395 (5th Cir. 2009)). “For an official to act with deliberate indifference, ‘the

official must both be aware of facts from which the inference could be drawn that a substantial

risk of serious harm exists, and he must also draw the inference.’” Smith v. Brenoettsy, 158 F.3d

908, 912 (5th Cir. 1998) (quoting Farmer, 511 U.S. at 837). Proof of deliberate difference requires




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the showing of a pattern of similar violations arising from training or supervision that is so clearly

inadequate as to be obviously likely to result in a constitutional violation. Brown v. Callahan, 623

F.3d 249, 255 (5th Cir. 2010) (citing Estate of Davis ex rel. McCully v. City of N. Richland Hills,

406 F.3d 375, 381 (5th Cir. 2005)). “Stated another way, to establish deliberate indifference, a

plaintiff must show at least a pattern of violations (fairly similar to what ultimately transpired) so

that the failure of the [supervisor] to respond with…better supervision…reflects a deliberate or

conscious choice to endanger constitutional rights.” Ngoc-Chi Huynh v. City of Houston, No.

CIV.A. H-10-1303, 2011 WL 6250792, at *8 (S.D. Tex. Dec. 12, 2011).

       The Court finds Plaintiffs have not adequately pleaded a failure to supervise claim against

Thomas and Dawson. As previously stated, Plaintiffs’ allegations of failure to supervise state that

Thomas and Dawson “knew” that officers under their supervision “regularly” failed to take certain

precautions when dealing with detainees. (ECF 1 at 13). These allegations are too conclusory to

adequately plead a pattern of violations or that Thomas and Dawson knew of their subordinate

officers’ alleged improper conduct, such that Thomas and Dawson were deliberately indifferent to

the same. See Poloceno v. Dallas Indep. Sch. Dist., No. 3:18-CV-1284-S, 2019 WL 2568681, at

*5–6 (N.D. Tex. June 21, 2019) (vague and unsupported allegations of a pattern and officials’

knowledge of prior incidents were insufficient to state failure to train claim); see also Ybarra-

Fuentes v. City of Rosenberg, No. CV H-18-1824, 2018 WL 6019177, at *8 (S.D. Tex. Nov. 16,

2018) (conclusory allegation that pretrial detainee suicide at issue was “only one of numerous

instances where [jail] has failed to provide needed care” was insufficient to state failure to

supervise claim against police chief); see also Torres v. Livingston, No. 6:17CV196, 2018 WL

4655786, at *8 (E.D. Tex. July 23, 2018) (conclusory assertions that pattern existed were

insufficient to state failure to supervise claim); see also Scott v. White, No. 1:16-CV-1287-RP,




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2018 WL 2014093, at *9 (W.D. Tex. Apr. 30, 2018) (three incidents of allegedly excessive force

that occurred over the four years prior to incident at issue were insufficient to state failure to train

or supervise claim); see also Escobedo v. Rowe, No. 5:17-CV-273-BQ, 2018 WL 2090748, at *3

(N.D. Tex. Apr. 5, 2018), adopted by No. 5:17-CV-273-C, 2018 WL 2089349 (N.D. Tex. May 4,

2018) (allegations that sheriff “allow[ed] illegal searches and false arrests” were unsupported

conclusory allegations insufficient to state failure to supervise claim against sheriff); see also Tipps

v. McCraw, No. SA-12-CV-00766-DAE, 2013 WL 5929705, at *4–5 (W.D. Tex. Nov. 1, 2013)

(allegations that Department of Public Safety director had “knowledge” of “prior inappropriate

behavior” of two subordinates were insufficient to state failure to supervise claim against director,

and “specific instances” of constitutional violations by the two subordinates, rather than vague and

conclusory allegations, were required).

        Plaintiffs mention the “single incident exception” in their briefing when discussing the

failure to supervise claims against Thomas and Dawson and cite Brown v. Bryan Cty. (ECF 22 at

26–27). “[A] single decision by a policy maker may, under certain circumstances, constitute a

policy for which [a municipality] may be liable.” Brown v. Bryan Cty., 219 F.3d 450, 462 (5th Cir.

2000); see Estate of Davis, 406 F.3d at 385–86 (exception requires plaintiff to show the highly

predictable consequence of failure to train or supervise would result in specific injury suffered,

and the failure to train or supervise represented the moving force behind the constitutional

violation). However, the Court must look to the Complaint to determine whether Plaintiffs have

sufficiently pleaded a failure to supervise claim based on the single incident exception, and the

Court cannot conclude Plaintiffs have done so.10 (See ECF 1 at 13–14) (alleging a vague and

“regular” pattern of dangerous conduct by subordinate officers rather than a single incident). Even



        10   The Court also notes Plaintiffs seem to disavow the exception in their response. (ECF 22 at 26).


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if it appeared Plaintiffs attempted to plead such an exception, the exception is narrow, and the Fifth

Circuit Court of Appeals has noted the difference between a complete failure to train or supervise

and a failure to train or supervise in a limited area. See Estate of Davis, 406 F.3d at 385–86.

       The Court finds Plaintiffs do not allege failure to train claims against Thomas and Dawson

individually, and thus will not address Thomas and Dawson’s argument regarding failure to train.

(See ECF 1 at 12–14). The Court grants Thomas and Dawson’s motion to dismiss.

   B. Plaintiffs’ Fourteenth Amendment Claims Under Section 1983 Against Potter County

            i.      Official Custom or Policy

       Plaintiffs allege Defendant Potter County is liable for Martinez’s death because of its

policies, practices, or customs. (Id. at 14–15). Plaintiffs pleaded the following nine policies,

practices, or customs they believe caused Martinez’s death:

       1. Regularly confining inmates at high risk of suicide in dangerous conditions of
          confinement, such as the solitary confinement cell Martinez was housed in that
          had multiple tie-off points, could not be easily physically observed, and was
          designed to house only a single detainee;

       2. Overcrowding the jail and housing detainees who could be otherwise released
          on bond (or on personal recognizance) when officers are unable to adequately
          observe all detainees and resources are too “thin” to ensure all detainees receive
          appropriate medical attention;

       3.        Failing to continuously observe detainees at high risk of suicide;

       4. Housing detainees at risk of suicide in single-person cells, including the solitary
          confinement cell Martinez was placed in;

       5. Housing detainees at risk of suicide in cells with tie-off points, including the
          solitary confinement cell Martinez was placed in;

       6. Routinely failing to observe suicidal detainees at intervals frequent enough to
          prevent suicide deaths and other serious medical emergencies;

       7. Failing to obtain psychiatric services for actively suicidal detainees;




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         8. Housing detainees at risk of suicide in cells where in-person observation is
            difficult; and

         9. Using video surveillance as a substitute for in-person observation of detainees
            (especially detainees known to be suicidal).

(Id.).

         Potter County seeks dismissal of this claim on the basis that Plaintiffs have not pleaded an

official policy or a custom existed. (See ECF 6 at 11–18). Specifically, Potter County argues

Plaintiffs merely pleaded allegations of the individual Defendants’ negligence, failed to plead any

of the policies or customs were officially adopted, and failed to plead prior incidents sufficiently

close in time, similar, and specific to plead a custom existed. (See id.).

         “[M]unicipal liability under section 1983 requires proof of three elements: a policymaker;

an official policy; and a violation of constitutional rights whose ‘moving force’ is the policy or

custom.” Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001) (citing Monell v. Dep’t

of Soc. Servs. of City of New York, 436 U.S. 658, 694 (1978)). “Official policy is ordinarily

contained in duly promulgated policy statements, ordinances or regulations.” Id. at 579. However,

a policy may also be evidenced by custom when “a persistent, widespread practice of [municipal]

officials or employees, which, although not authorized by officially adopted and promulgated

policy, is so common and well-settled as to constitute a custom that fairly represents municipal

policy.” Id. (quoting Webster v. City of Houston, 735 F.2d 838, 841 (5th Cir. 1984)).

         Plaintiffs do not allege Potter County has any official written or articulated policy relating

to their claims. However, Plaintiffs allege the nine identified policies, practices, or customs “were

a proximate cause of several prior suicide deaths in addition to Martinez.” (ECF 1 at 15). Viewing

the Complaint’s facts in the light most favorable to Plaintiffs, the Court construes this as a

reference to the alleged five prior suicides at Potter County Jail identified earlier in the Complaint




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and as an allegation that the nine identified policies, practices, or customs are actually patterns of

conduct that rise to the level of official policies. (See id. at 11–12). “A pattern is tantamount to

official policy when it is ‘so common and well-settled as to constitute a custom that fairly

represents municipal policy.’” Peterson v. City of Fort Worth, 588 F.3d 838, 850 (5th Cir. 2009)

(quoting Piotrowski, 237 F.3d at 579). “Where prior incidents are used to prove a pattern, they

‘must have occurred for so long or so frequently that the course of conduct warrants the attribution

to the governing body of knowledge that the objectionable conduct is the expected, accepted

practice of [a municipality’s] employees.’” Id. (quoting Webster, 735 F.2d at 842). A pattern

requires “similarity and specificity” and “sufficiently numerous prior incidents,” as opposed to

“isolated instances.” Id. at 851.

         The only specifics given regarding the alleged five prior suicides are as follows: three of

the suicides involved use of a bed sheet as a ligature and two of those suicides occurred in a single-

person cell. (ECF 1 at 11–12). No details are given for two of the alleged prior suicides other than

the suicides occurred by hanging in a cell. (Id. at 11). Plaintiffs do not specifically allege Potter

County had a pattern of providing inmates, suicidal or otherwise, with bed sheets, although such

an allegation could be inferred based on the general facts alleged.11 (See id. at 14–15). Plaintiffs

do however allege a pattern of “[h]ousing detainees at risk of suicide in single-person cells.” (Id.

at 15). Even assuming the two prior incidents in 2001 and 2008 involving suicide in a single-

person cell are sufficiently specific and similar to be considered, two prior incidents are insufficient

to show a pattern regarding single-person cells that rises to the level of an official policy. See



          11 If the Court infers an allegation that Potter County had a pattern regarding bed sheets, the relevant alleged

prior incidents would include the 2001 and 2008 incidents that involved the use of bed sheets as ligatures, as well as
the 1993 incident that involved a bed sheet as a ligature. Such an inference would require the Court to consider whether
three suicides spanning a period of approximately 27 years prior to this lawsuit being filed are sufficient to constitute
a pattern regarding bed sheets that rises to the level of an official policy.



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Peterson, 588 F.3d at 847–48, 850–52. Likewise, even if the Court considers the 1993 incident of

suicide involving a bed sheet, along with the 2001 and 2008 incidents of suicide involving bed

sheets, three prior incidents over that time span are insufficient to show a pattern regarding bed

sheets that rises to the level of an official policy.

        Plaintiffs rely on Jacobs and argue in their response that a policy can be “so obviously

dangerous that a prior pattern is not required.” (ECF 22 at 24) (citing Jacobs, 228 F.3d at 396).

However, as Plaintiffs seem to acknowledge, the portion of Jacobs to which they cite involved a

claim against a sheriff individually and whether the sheriff was entitled to qualified immunity. The

Jacobs opinion did not address the claims against the sheriff in his official capacity or any claims

against a municipality. See Jacobs, 228 F.3d at 392. The Court finds Plaintiffs have not adequately

pleaded a claim against Potter County based on an official policy or a custom and grants Potter

County’s motion to dismiss with respect to this claim.

          ii.   Failure to Train

        Plaintiffs allege “Potter County failed to provide adequate training to its jailers on suicide

prevention in the following ways:”

        1. Failing to train jailers when to begin a suicide watch, and that they must be
           observed;

        2. Failing to train officers about accommodating detainees with disabilities;

        3. Failing to train jailers not to house detainees at risk of suicide in single-person
           cells;

        4. Failing to train jailers not to house detainees at risk of suicide in cells with tie-
           off points;

        5. Failing to train jailers not to issue bedding to detainees at risk of suicide (or that
           they must confiscate bedding from detainees known to be at risk of suicide);
           and

        6. Failing to train jailers that video observation is ineffective at preventing suicide.



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(ECF 1 at 15–16). Plaintiffs further allege that policymakers and supervisors, including Thomas

and Dawson, knew that “absent proper training officers were unlikely to be able to prevent suicide

deaths,” but “Potter County failed to provide appropriate training.” (Id. at 16). Potter County seeks

dismissal of this claim on the basis that Plaintiffs’ allegations are conclusory and fail to identify

similar prior incidents sufficiently close in time. (See ECF 6 at 18).

       “In limited circumstances, a local government’s decision not to train certain employees

about their legal duty to avoid violating citizen’s rights may rise to the level of an official

government policy for purposes of § 1983.” Malone v. City of Fort Worth, 297 F. Supp. 3d 645,

655 (N.D. Tex. 2018) (quoting Connick v. Thompson, 563 U.S. 51, 61 (2011)). “An inadequate

training program or a failure to train, once shown to be an official policy or custom of which a

municipality has knowledge, may serve as the basis for § 1983 liability only where inadequate

training amounts to deliberate indifference to the rights of the persons with whom the police come

into contact.” Id. To state a claim against a municipality based on a policy of inadequate training,

a plaintiff must demonstrate (1) the municipality’s training policy was inadequate; (2) the

municipality was deliberately indifferent in adopting its training policy; and (3) the inadequate

training policy directly caused the constitutional violation. See id. “The requisite deliberate

indifference in an inadequate-training context may be shown by a plaintiff in one of two ways.”

Id. First, and more typically, a plaintiff may plead the municipality had notice of a pattern of

violations fairly similar to what ultimately transpired when the constitutional violation occurred in

the case at issue. See id. at 656. “Establishing deliberate indifference [under the first approach]

generally requires a showing that the municipality failed to change its training methods in the face

of several incidents in which training methods caused constitutional violations.” Id. (quoting

Cardenas v. Lee Cty., 569 F. App’x 252, 257 (5th Cir. 2014)). Second, a plaintiff may plead the



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municipality was deliberately indifferent “based on a single incident in a narrow range of

circumstances.” Id. The single-incident exception is a narrow one and requires a plaintiff to show

that “the highly predictable consequence of a failure to train would result in the specific injury

suffered, and that the failure to train represented the moving force behind the constitutional

violation.” Id. (quoting Sanders–Burns v. City of Plano, 594 F.3d 366, 381 (5th Cir. 2010)).

       The Court finds Plaintiffs have not adequately pleaded a failure to train claim against Potter

County based on a pattern of similar violations because Plaintiffs have not alleged facts to support

that a pattern of similar constitutional violations caused by inadequate training methods exists.

Viewing the Complaint’s facts in the light most favorable to Plaintiffs, Plaintiffs pleaded in one

part of the Complaint that Thomas and Dawson “knew” that officers under their supervision

“regularly” failed to take certain precautions when dealing with detainees and that “inadequate

training…was a recurring problem,” and later in the Complaint pleaded that training on the same

precautions—not housing detainees in single-person cells, suicide watches, confiscating bedding,

and not relying solely on video surveillance to observe detainees—is inadequate. (See ECF 1 at 8,

13, 15–16). However, Plaintiffs’ allegations are too conclusory to adequately plead Potter County

had notice of a pattern of similar constitutional violations caused by inadequate training methods

so as to support a claim that Potter County was deliberately indifferent to the inadequacy of its

training program. See Hill v. Turknett, No. 3:19-CV-2871-K, 2020 WL 3872743, at *6 (N.D. Tex.

July 9, 2020) (conclusory allegations that county was on notice of pattern were insufficient to

support failure to train claim against county); see also Jackson v. Valdez, No. 3:18-CV-2935-X-

BH, 2020 WL 1428775, at *9–10 (N.D. Tex. Feb. 27, 2020), adopted by No. 3:18-CV-02935-X-

BH, 2020 WL 1339923 (N.D. Tex. March 23, 2020) (allegations regarding county’s alleged

failures to train were too conclusory to state failure to train claim against county or show




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“policymakers were repeatedly put on notice that additional training or supervision for jail staff

was needed”); see also Thomas v. City of Galveston, 800 F. Supp. 2d 826, 845–46 (S.D. Tex. 2011)

(bare assertions that pattern of violations due to insufficient training existed were insufficient to

state failure to train claim against city).12

         Plaintiffs mention the “single incident exception” in their briefing when discussing the

failure to train claims (ECF 22 at 26), but the Court cannot conclude Plaintiffs pleaded facts in

their Complaint to support such an exception. See Pena v. City of Rio Grande City, 879 F.3d 613,

624 (5th Cir. 2018) (“the exception is generally reserved for those cases in which the government

actor was provided no training whatsoever”); see also Sinegal v. City of El Paso, 414 F. Supp. 3d

995, 1009 (W.D. Tex. 2019) (discussing narrow exception and insufficiency of allegations that

officers received improper training, as opposed to no training whatsoever). The Court finds

Plaintiffs have not adequately pleaded a failure to train claim against Potter County and grants

Potter County’s motion to dismiss with respect to this claim.

          iii.     Conditions of Confinement

         Plaintiffs allege “Potter County put Martinez at risk of death” by allowing the following

“dangerous conditions:”

         1. Understaffing;

         2. Overcrowding; and

         3. The physical design of Martinez’s cell that made it difficult to observe, despite
            including many tie-off points.




           12 Even if the Court were to consider the alleged five prior suicides at Potter County Jail, the failure to train

claim against Potter County would fail. The Complaint merely states “given the lack of training…Martinez was not
the first inmate to die of suicide in the Potter County Jail.” (ECF 1 at 11). There are no specific facts alleged regarding
the prior suicides that could give rise to an inference that Potter County was aware officers lacked adequate training
and were indifferent to the risks that could result from inadequate training.


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(ECF 1 at 16). Potter County does not directly address Plaintiffs’ conditions-of-confinement claims

against it. Potter County attacks Plaintiffs’ ability to show an official custom or policy, but does

not address the Bell test, which controls conditions-of-confinement claims as previously discussed,

or its requirement that the condition be “arbitrary or purposeless” or “not reasonably related to a

legitimate goal.”13 Shepherd, 591 F.3d at 452. Accordingly, the Court denies Potter County’s

motion to the extent it seeks to dismiss Plaintiffs’ conditions-of-confinement claim against it.

    C. Plaintiffs’ ADA and RA Claims Against Potter County

         Plaintiffs allege Potter County intentionally discriminated against Martinez in violation of

the ADA and RA by denying him reasonable accommodations such as:

    1. Medical and psychiatric treatment;

    2. Modifications to his cell (such as removing tie-off points, or housing him with a
       cell mate);

    3. Confiscating his uniform and bedding until he could receive a psychiatric
       evaluation and treatment;

    4. Frequent observation to guard against death by suicide;

    5. Suicide watch;

    6. Safe housing; and

    7. Adequate staffing.

(ECF 1 at 17–18). Potter County seeks dismissal of this claim on the basis that Plaintiffs failed to

sufficiently plead Martinez was discriminated against because of his alleged disability and failed

to identify the programs to which Martinez was denied access. (See ECF 6 at 20–23).



          13 Although Potter County addresses Plaintiffs’ conditions-of-confinement claims in its reply brief, the Court

declines to consider any argument as to these claims because Potter County addressed the claims for the first time in
its reply brief. See Cavazos v. JP Morgan Chase Bank Nat. Ass’n, 388 F. App’x 398, 399 (5th Cir. 2010) (“Arguments
raised for the first time in a reply brief, even by pro se litigants...are waived.”) (internal quotation omitted); see also
Digital Generation, Inc. v. Boring, 869 F. Supp. 2d 761, 771 (N.D. Tex. 2012); see also Weber v. Merrill Lynch Pierce
Fenner & Smith, Inc., 455 F. Supp. 2d 545, 551 (N.D. Tex. 2006).


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        “To make out a prima facie case under Title II or the Rehabilitation Act, a plaintiff must

show ‘(1) that he is a qualified individual within the meaning of the ADA; (2) that he is being

excluded from participation in, or being denied benefits of, services, programs, or activities for

which the public entity is responsible, or is otherwise being discriminated against by the public

entity; and (3) that such exclusion, denial of benefits, or discrimination is by reason of his

disability.’” Cadena v. El Paso Cty., 946 F.3d 717, 723 (5th Cir. 2020) (citing Melton v. Dallas

Area Rapid Transit, 391 F.3d 669, 671–72 (5th Cir. 2004)). “In addition to their respective

prohibitions of disability-based discrimination, both the ADA and the Rehabilitation Act impose

upon public entities an affirmative obligation to make reasonable accommodations for disabled

individuals.” Id. at 723–24 (quoting Bennett-Nelson v. Louisiana Bd. of Regents, 431 F.3d 448,

454 (5th Cir. 2005)). “A claim for failure to accommodate under the ADA has the following

elements: (1) the plaintiff is a qualified individual with a disability; (2) the disability and its

consequential limitations were known by the covered institution; and (3) the covered institution

failed to make reasonable accommodations for such known limitations.” Jin Choi v. Univ. of Tex.

Health Sci. Ctr. at San Antonio, 633 F. App’x 214, 215 (5th Cir. 2015). The same elements apply

to Plaintiffs’ RA claims. Id.

        It appears Plaintiffs allege a failure-to-accommodate theory of liability. (See ECF 1 at 17–

18). Potter County’s motion and briefing do not identify the elements of a failure-to-accommodate

claim under the ADA and RA, much less address whether Plaintiffs sufficiently pleaded such

elements.14 Accordingly, the Court denies Potter County’s motion to the extent it seeks to dismiss

Plaintiffs’ ADA and RA claims against it. 15



        14 In its reply brief, Potter County identifies the elements of a failure-to-accommodate claim under the ADA
and RA and argues Plaintiffs have not adequately pleaded intentional discrimination in the failure-to-accommodate
context. (See ECF 25 at 10–15). As previously stated, the Court will not consider arguments raised for the first time


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    D. Leave to Amend

        Plaintiffs request that if the Court grants Defendants’ motions, they be permitted to replead.

The Court acknowledges Plaintiffs’ argument that discovery would reveal information and details

regarding potential policies and prior misconduct currently unavailable to Plaintiffs. (See ECF 22

at 37). In support of their argument that discovery should be conducted before they are required to

replead, Plaintiffs cite Thomas. (Id.) (citing Thomas, 800 F. Supp. 2d at 842–43). In Thomas, the

court stated that “[i]n the context of municipal liability, as opposed to individual officer liability,

it is exceedingly rare that a plaintiff will have access to (or personal knowledge of) specific details

regarding the existence or absence of internal policies or training procedures prior to discovery.”

Thomas, 800 F. Supp. 2d at 842. Thus, the court held “only minimal factual allegations should be

required at the motion to dismiss stage.” Id. at 842–43. But Plaintiffs fail to note that Thomas also

recognized this District is among those that has viewed Twombly and Iqbal as altering the pleading

requirements for municipal liability claims. Id. at 842. Further, as Magistrate Judge Rutherford

noted in Edwards, this District has not universally accepted Thomas’ middle-ground approach,

and the Fifth Circuit Court of Appeals has not endorsed it. Edwards v. Oliver, No. 3:17-CV-01208-

M-BT, 2019 WL 4603794, at *3 (N.D. Tex. Aug. 12, 2019), adopted by 3:17-cv-01208-M-BT,

2019 WL 4597573 (N.D. Tex. Sept. 23, 2019) (citing Speck v. Wiginton, 606 F. App’x 733, 735–

36 (5th Cir. 2015) (district court did not “err in applying the ordinary pleading standard to failure

to train allegations” against officers in their official capacity and “correctly stated that the proper


in Potter County’s reply brief. See supra note 13. The Court notes that Potter County’s new argument with respect to
Plaintiffs’ failure-to-accommodate claim relies on Smith v. Harris Cty., 956 F.3d 311 (5th Cir. 2020), which was
issued one day after Potter County filed its motion and brief in support. However, as Smith notes, the Fifth Circuit
Court of Appeals discussed what constitutes intentional discrimination in the failure-to-accommodate context in
Cadena (see 946 F.3d at 723–27), authority available to Potter County at the time it filed its motion and brief in
support, but to which it did not cite.
        15 The Court will not address Potter County’s request that the Court strike allegations based on negligence
and gross negligence from the Complaint for the reasons previously stated. (See ECF 6 at 19–20); see supra note 5.


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standard was Rule 8” as interpreted by Twombly and Iqbal); Saenz v. City of El Paso, 637 F. App’x

828, 832 (5th Cir. 2016) (applying Rule 8 as interpreted by Twombly and affirming dismissal of

failure to train claim against city)).

         Nevertheless, courts often grant plaintiffs one opportunity to replead, unless it appears that

the plaintiff cannot cure the initial deficiencies in the pleading. Rodriguez v. S. Health Partners,

Inc., No. 3:20-CV-0045-D, 2020 WL 2928486, at *14 (N.D. Tex. June 3, 2020) (dismissing claims

against county and individual doctors and granting plaintiff leave to file an amended complaint as

to the defects the court identified); In re Am. Airlines, Inc., Privacy Litig., 370 F. Supp. 2d 552,

567–68 (N.D. Tex. 2005) (Fitzwater, J.) (“[D]istrict courts often afford plaintiffs at least one

opportunity to cure pleading deficiencies before dismissing a case, unless it is clear that the defects

are incurable or the plaintiffs advise the court that they are unwilling or unable to amend in a

manner that will avoid dismissal.” (citation omitted)). There is no indication Plaintiffs cannot, or

are unwilling to, cure the defects the Court has identified. Thus, the Court grants Plaintiffs leave

to file an amended complaint as to the defects identified within 21 days of the date this order is

filed.

         IT IS SO ORDERED.

         ENTERED October 30, 2020.




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